Case 3:20-cv-08264-JJT Document 1-2 Filed 10/12/20 Page 1 of 81




      EXHIBIT “A”
Case 3:20-cv-08264-JJT Document 1-2 Filed 10/12/20 Page 2 of 81
Case 3:20-cv-08264-JJT Document 1-2 Filed 10/12/20 Page 3 of 81
Case 3:20-cv-08264-JJT Document 1-2 Filed 10/12/20 Page 4 of 81
Case 3:20-cv-08264-JJT Document 1-2 Filed 10/12/20 Page 5 of 81
Case 3:20-cv-08264-JJT Document 1-2 Filed 10/12/20 Page 6 of 81
Case 3:20-cv-08264-JJT Document 1-2 Filed 10/12/20 Page 7 of 81
Case 3:20-cv-08264-JJT Document 1-2 Filed 10/12/20 Page 8 of 81
Case 3:20-cv-08264-JJT Document 1-2 Filed 10/12/20 Page 9 of 81
Case 3:20-cv-08264-JJT Document 1-2 Filed 10/12/20 Page 10 of 81
Case 3:20-cv-08264-JJT Document 1-2 Filed 10/12/20 Page 11 of 81
Case 3:20-cv-08264-JJT Document 1-2 Filed 10/12/20 Page 12 of 81
Case 3:20-cv-08264-JJT Document 1-2 Filed 10/12/20 Page 13 of 81
Case 3:20-cv-08264-JJT Document 1-2 Filed 10/12/20 Page 14 of 81
Case 3:20-cv-08264-JJT Document 1-2 Filed 10/12/20 Page 15 of 81
Case 3:20-cv-08264-JJT Document 1-2 Filed 10/12/20 Page 16 of 81
Case 3:20-cv-08264-JJT Document 1-2 Filed 10/12/20 Page 17 of 81
Case 3:20-cv-08264-JJT Document 1-2 Filed 10/12/20 Page 18 of 81
Case 3:20-cv-08264-JJT Document 1-2 Filed 10/12/20 Page 19 of 81
Case 3:20-cv-08264-JJT Document 1-2 Filed 10/12/20 Page 20 of 81
Case 3:20-cv-08264-JJT Document 1-2 Filed 10/12/20 Page 21 of 81
Case 3:20-cv-08264-JJT Document 1-2 Filed 10/12/20 Page 22 of 81
Case 3:20-cv-08264-JJT Document 1-2 Filed 10/12/20 Page 23 of 81
Case 3:20-cv-08264-JJT Document 1-2 Filed 10/12/20 Page 24 of 81
Case 3:20-cv-08264-JJT Document 1-2 Filed 10/12/20 Page 25 of 81
Case 3:20-cv-08264-JJT Document 1-2 Filed 10/12/20 Page 26 of 81
Case 3:20-cv-08264-JJT Document 1-2 Filed 10/12/20 Page 27 of 81
Case 3:20-cv-08264-JJT Document 1-2 Filed 10/12/20 Page 28 of 81
Case 3:20-cv-08264-JJT Document 1-2 Filed 10/12/20 Page 29 of 81
Case 3:20-cv-08264-JJT Document 1-2 Filed 10/12/20 Page 30 of 81




       EXHIBIT “B”
Case 3:20-cv-08264-JJT Document 1-2 Filed 10/12/20 Page 31 of 81
Case 3:20-cv-08264-JJT Document 1-2 Filed 10/12/20 Page 32 of 81




       EXHIBIT “C”
Public Access Case Lookup                                                   Page 1 of 2
           Case 3:20-cv-08264-JJT Document 1-2 Filed 10/12/20 Page 33 of 81



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                             Case Information

                               Case Number:                  V-1300-CV-202080202

                               Title:                        PETER STROJNIK vs PRO HOSPIT                                   Category:                     Civil

                               Court:                        Yavapai County Superior                                        Filing Date:                  9/8/2020

                               Judge:                                                                                       Disposition Date:



                               GREENTREE INNS HOTEL MANAGEMENT GROUP, INC.                            DEFENDANT - D 2



                               PRO HOSPITALITY ONE PV, LLC                  DEFENDANT - D 1



                               PETER STROJNIK            PLAINTIFF - P 1



                             Case Activity
                              Date              Description                                                                                                       Party

                             9/15/2020          SERVICE: Return of Service                                                                                        P1

                             9/14/2020          SERVICE: Proof of Service                                                                                         P1

                             9/8/2020           COMPLAINT: Complaint                                                                                              P1

                             9/8/2020           ARBITRATION: CERTIFICATE OF COMPULSORY ARBITRATION - IS NOT                                                       P1

                             9/8/2020           INDICATOR: DISCOVERY TIER 2                                                                                       P1

                             9/8/2020           SUMMONS: SUMMONS                                                                                                  P1

                             9/8/2020           SUMMONS: SUMMONS                                                                                                  P1




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                             For access to criminal and civil court documents in the Superior Court visit the eAccess portal.
                             For more information about the eAccess portal please visit: https://www.azcourts.gov/eaccess.


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                             switch to Compatibility View. How?
                             The following case types are excluded from search results: sealed cases, cases involving un-served
                             Orders of Protection, mental health and probate cases, victim and witness data. Juvenile
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Case 3:20-cv-08264-JJT Document 1-2 Filed 10/12/20 Page 34 of 81




        EXHIBIT “1”
Case 3:20-cv-08264-JJT Document 1-2 Filed 10/12/20 Page 35 of 81
Case 3:20-cv-08264-JJT Document 1-2 Filed 10/12/20 Page 36 of 81
Case 3:20-cv-08264-JJT Document 1-2 Filed 10/12/20 Page 37 of 81




        EXHIBIT “2”
Case 3:20-cv-08264-JJT Document 1-2 Filed 10/12/20 Page 38 of 81
Case 3:20-cv-08264-JJT Document 1-2 Filed 10/12/20 Page 39 of 81
Case 3:20-cv-08264-JJT Document 1-2 Filed 10/12/20 Page 40 of 81




        EXHIBIT “3”
Case 3:20-cv-08264-JJT Document 1-2 Filed 10/12/20 Page 41 of 81
Case 3:20-cv-08264-JJT Document 1-2 Filed 10/12/20 Page 42 of 81




        EXHIBIT “4”
Case 3:20-cv-08264-JJT Document 1-2 Filed 10/12/20 Page 43 of 81
Case 3:20-cv-08264-JJT Document 1-2 Filed 10/12/20 Page 44 of 81
Case 3:20-cv-08264-JJT Document 1-2 Filed 10/12/20 Page 45 of 81
Case 3:20-cv-08264-JJT Document 1-2 Filed 10/12/20 Page 46 of 81
Case 3:20-cv-08264-JJT Document 1-2 Filed 10/12/20 Page 47 of 81
Case 3:20-cv-08264-JJT Document 1-2 Filed 10/12/20 Page 48 of 81
Case 3:20-cv-08264-JJT Document 1-2 Filed 10/12/20 Page 49 of 81
Case 3:20-cv-08264-JJT Document 1-2 Filed 10/12/20 Page 50 of 81
Case 3:20-cv-08264-JJT Document 1-2 Filed 10/12/20 Page 51 of 81
Case 3:20-cv-08264-JJT Document 1-2 Filed 10/12/20 Page 52 of 81
Case 3:20-cv-08264-JJT Document 1-2 Filed 10/12/20 Page 53 of 81
Case 3:20-cv-08264-JJT Document 1-2 Filed 10/12/20 Page 54 of 81
Case 3:20-cv-08264-JJT Document 1-2 Filed 10/12/20 Page 55 of 81
Case 3:20-cv-08264-JJT Document 1-2 Filed 10/12/20 Page 56 of 81
Case 3:20-cv-08264-JJT Document 1-2 Filed 10/12/20 Page 57 of 81
Case 3:20-cv-08264-JJT Document 1-2 Filed 10/12/20 Page 58 of 81
Case 3:20-cv-08264-JJT Document 1-2 Filed 10/12/20 Page 59 of 81
Case 3:20-cv-08264-JJT Document 1-2 Filed 10/12/20 Page 60 of 81
Case 3:20-cv-08264-JJT Document 1-2 Filed 10/12/20 Page 61 of 81
Case 3:20-cv-08264-JJT Document 1-2 Filed 10/12/20 Page 62 of 81
Case 3:20-cv-08264-JJT Document 1-2 Filed 10/12/20 Page 63 of 81
Case 3:20-cv-08264-JJT Document 1-2 Filed 10/12/20 Page 64 of 81
Case 3:20-cv-08264-JJT Document 1-2 Filed 10/12/20 Page 65 of 81
Case 3:20-cv-08264-JJT Document 1-2 Filed 10/12/20 Page 66 of 81
Case 3:20-cv-08264-JJT Document 1-2 Filed 10/12/20 Page 67 of 81
Case 3:20-cv-08264-JJT Document 1-2 Filed 10/12/20 Page 68 of 81
Case 3:20-cv-08264-JJT Document 1-2 Filed 10/12/20 Page 69 of 81
Case 3:20-cv-08264-JJT Document 1-2 Filed 10/12/20 Page 70 of 81
Case 3:20-cv-08264-JJT Document 1-2 Filed 10/12/20 Page 71 of 81




        EXHIBIT “5”
Case 3:20-cv-08264-JJT Document 1-2 Filed 10/12/20 Page 72 of 81
Case 3:20-cv-08264-JJT Document 1-2 Filed 10/12/20 Page 73 of 81
Case 3:20-cv-08264-JJT Document 1-2 Filed 10/12/20 Page 74 of 81




        EXHIBIT “6”
Case 3:20-cv-08264-JJT Document 1-2 Filed 10/12/20 Page 75 of 81
Case 3:20-cv-08264-JJT Document 1-2 Filed 10/12/20 Page 76 of 81




       EXHIBIT “D”
Case 3:20-cv-08264-JJT Document 1-2 Filed 10/12/20 Page 77 of 81
Case 3:20-cv-08264-JJT Document 1-2 Filed 10/12/20 Page 78 of 81
Case 3:20-cv-08264-JJT Document 1-2 Filed 10/12/20 Page 79 of 81




       EXHIBIT “E”
            Case 3:20-cv-08264-JJT Document 1-2 Filed 10/12/20 Page 80 of 81


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 6
       Attorneys for Defendant Pro Hospitality One
 7     PV, LLC
 8                 IN THE SUPERIOR COURT OF THE STATE OF ARIZONA
 9                           IN AND FOR THE COUNTY OF YAVAPAI
10

11   PETER STROJNIK,                                      No. V1300CV202080202
12                        Plaintiff,
                                                          DEFENDANT PRO
13   vs.                                                  HOSPITALITY’S NOTICE OF
                                                          REMOVAL TO FEDERAL COURT
14   PRO HOSPITALITY ONE PV, LLC, d/b/a
     GREENTREE INN OF PRESCOTT;
15   GREENTREE INNS HOTEL
     MANAGEMENT GROUP, INC.,
16
                     Defendants.
17            TO: CLERK OF THE SUPERIOR COURT AND ALL PARTIES TO THIS
                  ACTION
18

19            Please take notice that on October 12, 2020, Defendant Pro Hospitality One PV,
20   LLC, d/b/a Greentree Inn of Prescott filed in the United States District Court for the District
21   of Arizona a Notice of Removal to remove this action to that court. A full and true copy of
22   said Notice of Removal is herewith served on you for filing attached as Exhibit “A”.
23            RESPECTFULLY SUBMITTED this 12th day of October, 2020.
24                                                  JENNINGS, STROUSS & SALMON, P.L.C.
25                                                  By /s/ Lindsay G. Leavitt
                                                       Lindsay G. Leavitt
26                                                     Jordan T. Leavitt
                                                       One East Washington Street, Suite 1900
27                                                     Phoenix, Arizona 85004-2554
                                                       Attorneys for Defendants
28

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           Case 3:20-cv-08264-JJT Document 1-2 Filed 10/12/20 Page 81 of 81


 1 Original of the foregoing E-Filed with the
   Clerk of the Court and a Copy of the
 2
   foregoing sent via U.S. mail on this 12th
 3 day of October, 2020, to:

 4 Peter Strojnik
   7847 N. Central Avenue
 5 Phoenix, AZ 85020

 6 ps@strojnik.com
   Pro Per
 7

 8 Alex S. Xu
   CEO
 9 Greentree Inns Hotel Management Group, Inc.
   858 W. Elliott Road, Ste. 102
10 Tempe, AZ 85284
   Defendant Greentree Inns Management Group, Inc.
11
     /s/ Tana Davis-Digeno
12

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                                                                    7339480v1(88888.842)
